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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                  §
CLINTON GRANT and TYNISA M.                       §
GRANT,                                            §
                                                  §
        Plaintiffs,                               §
                                                  §
v.                                                §         Civil Action No. 4:16-cv-223-O
                                                  §
CORNERSTONE MORTGAGE                              §
COMPANY,                                          §
                                                  §
        Defendants.                               §


                                               ORDER

        Before the Court is Defendants’ Suggestion of Bankruptcy (ECF No. 22). The Court has

been notified that on October 11, 2016, Plaintiff Tynisa M. Grant filed a petition for bankruptcy

under Chapter 13 of the United States Bankruptcy Code. Pursuant to 11 U.S.C. § 362, an automatic

stay is now in effect until further notification by the parties that it should be lifted. The Clerk of

Court shall close this case for statistical purposes.

        SO ORDERED this 28th day of October, 2016.

                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE
